         Case 1:21-cr-00726-CJN Document 33 Filed 04/04/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :       Case No. 21-cr-726 (CJN)
                                              :
JOSIAH KENYON,                                :
                                              :
                      Defendant.              :


          GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
           TO LOCAL CRIMINAL RULE 49 AND STANDING ORDER 21-28


       The United States hereby gives notice, pursuant to Local Criminal Rule 49 and Standing

Order 21-28, of the following exhibits provided to the Court and counsel to be used by the

government in the sentencing in this matter. Exhibits A and C are videos obtained from social

media. Exhibits B and D are MPD body-worn camera footage. Exhibits E, F, G, and H are open-

source video. Exhibit I is a BOLO video created by the FBI. The exhibits are:

       A. Exhibit A depicts the defendant breaking a U.S. Capitol window.

       B. Exhibit B depicts the defendant throwing an orange pylon into a police officer’s riot

          shield.

       C. Exhibit C similarly depicts the defendant throwing an orange pylon into the U.S.

          Capitol’s Lower West Terrace tunnel.

       D. Exhibit D depicts the defendant striking at a police officer with a table leg from the

          vantage point of the officer.

       E. Exhibit E depicts the defendant striking at a police officer with a table leg from a third-

          party vantage point.

       F. Exhibit F similarly depicts the defendant striking at a police officer with a table leg

          from a third-party vantage point.
                                                  1
  Case 1:21-cr-00726-CJN Document 33 Filed 04/04/23 Page 2 of 2




G. Exhibit G similarly depicts the defendant striking at a police officer with a table leg

   from a third-party vantage point.

H. Exhibit H depicts the defendant yelling encouragement to the surrounding mob at the

   U.S. Capitol Lower West Terrace.

I. Exhibit I depicts the defendant wielding a table leg against police officers in the Lower

   West Terrace tunnel.

                                       Respectfully submitted,


                                       MATTHEW M. GRAVES
                                       UNITED STATES ATTORNEY
                                       D.C. Bar No. 481052

                              By:      /s/ Nathaniel K. Whitesel
                                       NATHANIEL K. WHITESEL
                                       Assistant United States Attorney
                                       DC Bar No. 1601102
                                       601 D Street NW
                                       Washington, DC 20530
                                       nathaniel.whitesel@usdoj.gov
                                       (202) 252-7759




                                          2
